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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

In the matter of:                              )
                                               )
United States of America,                      )            Misc. No.
                                               )            2:18-mc-03837-WKW-GMB
        Petitioner,                            )
                                               )
v.                                             )
                                               )
Jefferson S. Dunn, in his official capacity as )
Commissioner of the Alabama Department         )
of Corrections,                                )
                                               )
        Respondent.                            )
_________________________________________ )

              MOTION TO WITHDRAW PETITION TO ENFORCE SUBPEONA

       The United States of America hereby moves to withdraw its Petition to Enforce the

Subpoena, filed on October 10, 2018, ECF No. 1, and amended on October 12, 2019, ECF No. 8.

       1.      In October 2016, the U.S. Department of Justice (“Department”) opened an

investigation into the Alabama Department of Corrections (“ADOC”) facilities housing male

prisoners, pursuant to § 3A(b)(2) of the Civil Rights of Institutionalized Persons Act (“CRIPA”),

42 U.S.C. § 1997a-1.

       2.      On May 8, 2017, after ADOC did not timely and adequately respond to the

Department’s investigation, the Department issued and served a subpoena on ADOC pursuant to

CRIPA, 42 U.S.C. § 1997a-1.

       3.      After multiple attempts to obtain the subpoenaed documents failed, on October

10, 2018, the Department filed this action seeking to enforce the subpoena.
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       4.      On April 2, 2019, the Department issued a notice letter informing the State of

Alabama and ADOC that the Department has reasonable cause to believe that ADOC violates the

constitutional rights of male prisoners by failing to protect them from harm, including violence

and sexual abuse, and by housing them in unsafe and unsanitary conditions.

       5.      However, there are still areas of the Department’s investigation which have not

been completed, specifically related to use of force and sexual abuse by staff.

       6.      After its April 2, 2019 notice letter was publicly released, the Department

requested that ADOC produce certain documents necessary to complete those remaining open

areas of investigation.

       7.      ADOC has since provided those documents to the Department.

       8.      Therefore, the Department seeks to withdraw this current action to enforce its

subpoena.
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DATED this 30th day of May 2019.        Respectfully submitted,

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                                        Civil Rights Division

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                                        JASON R. CHEEK
                                        Deputy Civil Chief
                                        Northern District of Alabama

                                        /s/ Carla C. Ward
                                        CARLA C. WARD
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                                    CERTIFICATE OF SERVICE

       I, Carla C. Ward, do hereby certify that on the 30th day of May 2019, a true and correct copy of

the foregoing has been electronically filed with the Clerk of the Court through the CM/ECF e-filing

system, which will then send a notification to the Respondent’s attorneys of record.




                                                            /s/ Carla C. Ward
                                                            Carla C. Ward
                                                            Assistant United States Attorney
